                                                               SO ORDERED.


                                                               Dated: November 28, 2018


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2                                                              ______________________________________
                                                               Madeleine C. Wanslee, Bankruptcy Judge
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6                          IN THE UNITED STATES BANKRUPTCY COURT
7
                                 FOR THE DISTRICT OF ARIZONA

8    In re:                                              In Proceedings Under Chapter 7
9                                                        Case No.: 2:18-bk-13303-MCW
10
     BARBARA D CONEDY,
                                                         ORDER GRANTING MOTION TO VACATE
11                        Debtor.                        DISMISSAL ORDER (REINSTATE
                                                         BANKRUPTCY)
12

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14
              THIS MATTER having come before the Court in the form of a Motion to Vacate the
15
     Dismissal Order and good cause appearing;
16
              IT IS ORDERED the bankruptcy and stay as to all creditors is REINSTATED.
17
                                    AS SIGNED AND DATED ABOVE
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